                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

GEORGE MARTIN and                                    )
JANET MARTIN, Husband and Wife                       )
                                                     )
                        Plaintiffs,                  )
                                                     )
v.                                                   )       Case No. 12-CV-184-JED-FHM
                                                     )
INTERSTATE BATTERY SYSTEM                            )
OF AMERICA, INC., a Texas Corporation;               )
JOHNSON CONTROLS BATTERY                             )
GROUP, INC., a Wisconsin Corporation;                )
INTERSTATE ALL BATTERY                               )
CENTER, INC., a Texas Corporation;                   )
DISTRIBUTOR OPERATIONS, INC.,                        )
A Texas Corporation,                                 )
                                                     )
                        Defendants.                  )

                                      OPINION AND ORDER

          Before the Court is plaintiffs’ Renewed Motion to Allow Substitution of Expert Due to

Illness (Doc. 185) (the “Motion”), which defendants have opposed (Doc. 187).

     I.   Background

          On April 19, 2016, plaintiffs requested the Court to hold a status conference to resolve

several issues, including their request to replace their expert witness, Dr. Dean Jacobson, with

Dr. Bosch for medical reasons. (Doc. 178). The Court granted the plaintiffs’ request, held a

status conference on May 17, 2016, and subsequently directed the parties to resolve the issue on

their own. (Doc. 182). On June 21, 2016, plaintiffs filed the instant Motion, asserting that the

parties had reached an “impasse” and could not reach an agreement regarding the substitution of

Dr. Jacobson. (Doc. 185 at 3, ¶ 4). The case is set for trial on September 19, 2016.
 II.   Discussion

       Plaintiffs’ Motion seeks to replace Dr. Jacobson with his colleague, Dr. Bosch, as their

expert at trial. (Doc. 185). Plaintiffs represent that Dr. Jacobson recently underwent open-heart

surgery and has received an order from his physician to discontinue stressful work, such as

testifying as an expert witness, during his recovery process. (Id.). In response, defendants argue

that plaintiffs’ Motion is unsupported by case law and admissible evidence, that substitution at

this late stage would unfairly prejudice defendants, and that the premise for the Motion is

unfounded because Dr. Jacobson continues to testify as an expert in other cases.      Defendants

further argue that plaintiffs are “seeking to better their position in this lawsuit through a

substitution of experts,” specifically that Dr. Bosch’s expertise surpasses that of Dr. Jacobson,

and that he may change the prior opinions provided by Dr. Jacobson.           (Doc. 186 at 7-8).

Plaintiffs’ Reply requests that the Court allow the substitution and provide defendants the

opportunity to take Dr. Bosch’s deposition if they choose to do so. The Reply provides affidavits

from both Dr. Jacobson and Dr. Bosch, as well as a letter from Dr. Jacobson’s physician. (Docs.

187-1, 187-2, 187-3).

       Federal Rule of Civil Procedure 26(a)(2) requires parties to disclose the identity of any

expert witnesses and their expert witness reports. Federal Rule of Civil Procedure 37(c)(1)

provides that where a party fails to timely provide the information required under Rule 26(a)(2),

that information should be excluded “unless the failure [is] substantially justified or is

harmless.” Here, the Court’s Amended Scheduling Order required that plaintiffs identify their

experts and provide any expert disclosures by May 1, 2013. (Doc. 50). The discovery cut-off

date was August 30, 2013. (Doc. 56). Dr. Jacobson was deposed on July 30, 2013. Plaintiffs




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first disclosed to the Court their intent to substitute Dr. Jacobson with Dr. Bosch on April 19,

2016. (Doc. 178).

       “The determination of whether a Rule 26(a) violation is justified or harmless is entrusted

to the broad discretion of the district court.” Woodworker’s Supply, Inc. v. Principal Mut. Life

Ins. Co., 170 F.3d 985, 993 (10th Cir.1999) (quoting Mid–America Tablewares, Inc. v. Mogi

Trading Co., 100 F.3d 1353, 1363 (7th Cir. 1996)). While a district court is not required to make

“explicit findings” regarding whether the failure to disclose is substantially justified or is

harmless, it should be guided by the following factors: (1) the prejudice or surprise to the party

against whom the testimony is offered; (2) the ability of the party to cure the prejudice; (3) the

extent to which introducing such testimony would disrupt the trial; and (4) the moving party’s

bad faith or willfulness. Id.

       As an initial matter, defendants’ argument that the Motion is not ripe is now moot, as it

rested on the fact that, at the time, the Court had not yet issued its rulings on defendants’

summary judgment or Daubert motions. In this case, plaintiffs’ late disclosure of Dr. Bosch is

substantially justified because of Dr. Jacobson’s unexpected emergency coronary bypass surgery

and health issues related to his previous diagnosis of Parkinson’s disease. After careful review

of the parties’ briefing and related exhibits, the Court cannot find that there is bad faith on

plaintiffs’ part, despite defendants’ assertions to the contrary. Specifically, the affidavits of Dr.

Bosch and Dr. Jacobson directly contradict defendants’ assertion that Dr. Jacobson continues to

testify as an expert.1 The affidavits make clear that Dr. Jacobson has informed all individuals at



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  In their Objection to plaintiffs’ Motion, defendants suggested that Dr. Jacobson has continued
to testify as an expert. In support of this argument, defendants provided the Court with an FEI
engagement letter for expert services dated May 11, 2016, which suggests that Dr. Jacobson and
Dr. Bosch were retained by a law firm to provide litigation-related services, including providing
expert witness testimony. (Doc. 186-3). In response, plaintiffs state that the presence of Dr.
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his consulting firm, Forensic Engineering, Inc. (“FEI”), that he can no longer testify in any case

due to his health, and also that he has not testified as an expert witness since 2015. (Doc. 187-1

at 1, ¶ 2; Doc. 187-2 at 1, ¶ 2). Dr. Jacobson’s affidavit states that at this time, he is solely a

part-time consultant for FEI. (Doc. 187-2 at 1, ¶ 2). In sum, this evidence counsels against an

inference of bad faith.

       The Court disagrees with defendants’ argument that the Motion should be denied because

it will cause them unfair prejudice.     First, Dr. Bosch is co-owner of FEI, along with Dr.

Jacobson, and represented to the Court that he provided substantial contributions to Dr.

Jacobson’s expert report, and also designed and created the recommended warnings contained

therein. (Doc. 178, Exh. B). The Court also notes that Dr. Bosch’s name appears on the cover

page of Dr. Jacobson’s expert report. Other district courts have held that no prejudice exists

where a substituted expert provides testimony on the same subject. See e.g., Baumann v.

American Family Mut. Inc. Co., 278 F.R.D. 614, 2012 WL 27652, *2 (D. Colo. 2012) (no

prejudice from substituting an expert close to trial who “will be testifying about the same general

subject matter” as previously disclosed expert); Morel v. Daimler-Chrisler Corp., 259 F.R.D. 17,

21 (D. Puerto Rico 2009) (no prejudice caused by substitution of expert because party against

whom the testimony was offered “had notice of the possibility of substitution [and would] not be

surprised by new subject matter or a new theory of liability”). Second, in his letter, Dr. Bosch

stated that his “conclusions and opinions are identical to the conclusions and opinions given by



Jacobson’s name on the engagement letter does not imply that Dr. Jacobson is testifying.
Plaintiffs point to the affidavits of Dr. Bosch and Dr. Jacobson to clarify that the letter is FEI’s
form retainer and engagement letter, which has not yet been updated to reflect that Dr. Jacobson
will no longer provide expert testimony. (Doc. 187-1 at 2, ¶¶ 3, 6). Moreover, Dr. Jacobson
never communicated with the law firm and Dr. Bosch informed the law firm that he would be the
only FEI engineer testifying as an expert in the case. (Doc. 187-1 at 2, ¶ 4; Doc. 187-2 at 1-2, ¶
3).
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Dr. Jacobson.” (Doc. 178, Exh. B). Because defendants had notice of the possibility of expert

substitution, the fact that Dr. Bosch worked directly with Dr. Jacobson on the report submitted in

this case, and Dr. Bosch’s representation that he has identical opinions and conclusions to those

of Dr. Jacobson, the risk of prejudice or surprise to defendants is exceedingly low.

       Accordingly, the Court finds that the substitution of Dr. Bosch is substantially justified,

particularly in light of the fact that the substitution was necessitated through no fault of the

plaintiffs. In an effort to curtail the prejudice to defendants caused by the substitution, however,

the Court will limit Dr. Bosch’s expert testimony. Specifically, Dr. Bosch’s expert testimony

will be limited to the four-corners of Dr. Jacobson’s expert report—that is, he will not be allowed

to testify beyond the scope of what Dr. Jacobson’s testimony would have been.2 To be clear, Dr.

Bosch may not testify in a manner that is inconsistent with or contrary to Dr. Jacobson’s

opinions, and he must reach the same conclusions as Dr. Jacobson. If defendants find it

necessary, they may depose Dr. Bosch for a period of time no longer than two (2) hours, at a

location of defendants’ choice. If Dr. Bosch covers new material in his deposition, defendants

may file a motion to exclude that portion of his testimony. 3 All issues related to attorneys’ fees



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 The Court’s Order regarding Dr. Jacobson’s expert opinion is applicable here, particularly as to
expert testimony regarding proposed warnings. (See Doc. 189). While Dr. Bosch, unlike Dr.
Jacobson, appears to have experience testifying in warning defect cases involving batteries and
asserts that he drafted the proposed warnings included in Dr. Jacobson’s expert report (Doc. 178,
Exh. B), he will not be allowed to testify regarding any proposed warnings because (1) Dr.
Jacobson would not have been allowed to do so, and (2) the Court’s Order determined that
proposed warning testimony is irrelevant in cases premised upon a lack of warning as opposed to
an inadequate existing warning. Accordingly, Dr. Bosch will be able to testify as to the general
need for a warning, but not the specifics of what a warning should have said.
3
  Other district courts have found similar remedies appropriate to cure prejudice to the opposing
party when granting a delayed request for expert substitution. See, e.g., Baumann, 278 F.R.D. at
616 (directing that substitute expert’s “opinion should not stray from the subject matter of
[original expert’s] opinion”; Morel, 259 F.R.D. at 22 (restricting substitute expert testimony to
testimony of original expert); Manildra Mill. Corp. v. Ogilvie Mills, Inc., 1991 WL 205691, at *2
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and costs, including those associated with preparing for and taking Dr. Bosch’s deposition will

be deferred until after the trial.

III.    Conclusion

        IT IS THEREFORE ORDERED that plaintiffs’ Renewed Motion to Allow Substitution

of Expert Due to Illness (Doc. 185) is granted.

        SO ORDERED this 18th day of August, 2016.




(D. Kan. Sept. 23, 1991) (limiting substitute expert testimony to original expert’s previously
disclosed testimony and allowing opposing party to depose substitute witness).

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